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                           IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO
                                       __________________

RAYMOND MONTOYA,

                  Plaintiff,

         vs.                                                                      2:17-cv-00081-WJ-SMV

JACOBS TECHNOLOGY, INC.,

                  Defendant.


                     MEMORANDUM OPINION AND ORDER
           GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

         THIS MATTER is before the Court upon Defendant’s Motion for Summary Judgment,

filed January 18, 2018 (Doc. 44). Having reviewed the parties’ pleadings and the applicable law,

the Court finds that Defendant’s motion is well-taken and, therefore, is GRANTED.

                                                BACKGROUND

         This is an employment discrimination and retaliation case. Plaintiff is a former employee

of Jacobs Technology, Inc. (“Jacobs”) and in the Amended Complaint (Doc. 6) alleges age and

disability discrimination, retaliation, wrongful termination and hostile work environment, in

violation of the Americans with Disabilities Act of 1990, 42 U.S.C. §12101 et seq., and the Age

Discrimination in Employment Act, 29 U.S.C. §§ 621-632.

                                           UNDISPUTED FACTS1


1
  Plaintiff objects that many of Defendant’s facts are supported by inadmissible hearsay. The reports produced by
human resources manager Yolanda Ramos are not hearsay, because the reports are not offered for the truth of the
matter asserted, i.e., to show that Plaintiff in fact hit the truck or lied during the investigation. Instead, they are
offered to show that Defendant believed there were legitimate reasons for its decision to fire Plaintiff. See Zamora v.
Bd. of Educ. for Las Cruces Pub. Sch., 553 F. App'x 786, 790 (10th Cir. 2014) (report not hearsay because defendant
offered it to establish effect it had on state of mind when decision was made to terminate plaintiff), quoting Faulkner
v. Super Valu Stores, Inc., 3 F.3d 1419, 1434 (10th Cir.1993) (holding that statements “offered to establish
[defendant's] state of mind in making [an employment] decision[ ] and ... not offered for the truth of the matter
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                 The Court finds that the following material facts are not in genuine dispute:

I.      Montoya’s Employment Background.

        Plaintiff Raymond Montoya began working for Jacobs in 1995 as a test technician. Test

technicians are subject to a collective bargaining agreement between Jacobs and the International

Association of Machinists and Aerospace Workers. Plaintiff was subject to “reductions in force”

in 2010 and 2012 while working for Jacobs, but both times exercised his rights under the

collective bargaining agreement and retained positions with Jacobs. During the 2010 reduction

in force, he was the youngest technician affected.

        Montoya did not complain about discrimination or retaliation with respect to either

layoff, nor did he file any EEOC charges. From 2011 through the date of his termination,

Plaintiff worked as a systems test mechanical technician. Plaintiff had multiple supervisors, one

of whom was Dennis Smith.

II.     Montoya’s Light Duty and Leave Requests.

        Plaintiff occasionally required short periods of light duty for strains to his back and knee,

and for eye surgery. His requests were granted. The last time he had any physical limitation was

from February 5, 2014 to February 20, 2014, when he required two weeks of light duty following

eye surgery. Plaintiff took occasional leave under the Family Medical Leave Act during his

employment, mostly to take care of family members. He took FMLA leave once for a few days

in 2008 for his own medical condition – an atrial fibrillation.                   In January 2015, Plaintiff

requested and was approved for leave in mid-July for his wife’s medical leave.



asserted” are not hearsay); see also Adkins v. Tower Corp., 141 F.3d 1184 (10th Cir. 1998) (testimony as to what
third party said about plaintiff’s job performance as not offered to show that performance as lacking, but to
demonstrate that employer thought there were legitimate reasons to fire plaintiff); Payan v. Vill. of Ruidoso, 2014
WL 12797213, at *6 (D.N.M. 2014) (Johnson, J.). Moreover, the police report itself is not hearsay. However,
statements therein of others are hearsay, but observations by the officers are not. It is unclear whether Jacobs
received or consulted the police report prior to firing Plaintiff.

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       Plaintiff testified that he did not consider himself disabled, but that he believes Jacobs

perceived him as disabled.

III.   Montoya’s Claims of Discrimination and Retaliation.

       Plaintiff did not believe he was discriminated against prior to 2012. Montoya identified

several alleged acts of discrimination between 2012 and 2015.          In one conversation with

Department Director Brent Adams, he states that Adams told him “the company was keeping any

[sic] eye on [him].” Plaintiff stated this comment made him feel “very uncomfortable,” because

he perceived “tension in the air.” Plaintiff believed this statement to be retaliatory, but did not

indicate what it was in retaliation for. Plaintiff also stated that he was discriminated against

because he claims younger people received training he did not receive, and he was not promoted.

       Plaintiff testified that the promotions were based on seniority and governed by the terms

of the collective bargaining agreement. All positions he applied to were governed by the

collective bargaining agreement. Plaintiff stated that he did not file any complaints with Jacobs

about not being trained or promoted, but he states that he told “management” that he was not

being promoted because of his age. Plaintiff did not identify who he told, or when he told them.

       Finally, Plaintiff asserted he was discriminated against when he was allegedly hit with a

truck on July 10, 2015 and fired thereafter.

IV.    Events of July 10, 2015.

       On July 10, 2015, Plaintiff and another employee, Louis Lombardi, were involved in an

incident involving a company truck. Plaintiff wanted to borrow a truck from Lombardi, the lead

man of a different team. Before Lombardi released the truck to Plaintiff, he drove it over to

check with Plaintiff’s supervisor. When Lombardi came back to the site, Plaintiff was standing

in the middle of the road, facing the truck on the passenger side of the vehicle. Plaintiff alleged



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that Lombardi gunned the truck at him and hit the left side of his body. Lombardi alleged that he

was driving slowly, tried to move around Plaintiff with two to three feet of clearance, and that

Plaintiff shoved or hit the truck with his arms. Lombardi stated that he exited the truck and

asked Plaintiff what he was doing. Plaintiff accused Lombardi of hitting him with the truck;

Lombardi denied that happened. Plaintiff and Lombardi went together to the office of their

supervisor, Dennis Smith.

V.        Investigation of Events of July 10, 2015.

          Upon learning of the incident, Smith alerted Human Resources manager Yolanda Ramos.

Smith advised Plaintiff to go to the on-site dispensary for treatment. At the time, Plaintiff only

complained of bruising on his left arm and leg, and the hospital released him that same day. The

hospital released him with no restrictions.     See Exhibit A, p. 134. That day, Ms. Ramos

contacted both Plaintiff and Mr. Lombardi, and seven witnesses present at the incident to meet

with them. Ms. Ramos met with each individual and took notes, and advised them that providing

false or misleading information could result in termination. Three witnesses observed what

happened: Plaintiff, Mr. Lombardi, and Manny Saldivar, a welder who was not employed by

Jacobs.

          Ms. Ramos interviewed Mr. Lombardi, who explained that he tried to drive the truck

around Plaintiff.     Mr. Lombardi told Ms. Ramos, Mr. Smith, Mr. Adams, and union

representative Chris Valdivia that once the front of the truck was past Plaintiff, Plaintiff

“shuffled toward the truck and I don’t know if he threw his hands.”

          Ms. Ramos also interviewed Manny Saldivar, who stated that Plaintiff was facing the

truck as it approached and that Mr. Lombardi tried to drive around Plaintiff. Manny Saldivar

saw that Plaintiff stepped forward and slapped the truck with one hand and punched it with the



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other. He confirmed that Plaintiff hit the door with this hands and that Mr. Lombardi did not

strike Plaintiff with the truck.

        Plaintiff told Ms. Ramos, Mr. Smith, Mr. Adams, and Chris Valdivia, the union steward,

that he was facing the truck while standing on the passenger side of the ruck as it approached.

Although his right side was facing the passenger vehicle, Plaintiff states he was hit on the left

thigh and arm. Ms. Ramos believed that Plaintiff was giving false and misleading testimony

about the events because his physical position did not match up to his claimed injuries and his

story conflicted with the consistent accounts of both Manny Valdivia and Mr. Lombardi.

        Plaintiff admits he never told anyone at Jacobs that he turned around to have his back

facing the truck while it approached him.

        The Dona Ana Sherriff’s Department also conducted an investigation. Police observed

no visible bruising on Plaintiff’s body. The Dona Ana County Sheriff concluded there was no

evidence that an assault with a vehicle occurred.

VI.     Findings Issued by Jacobs and Termination of Plaintiff’s Employment.

        On July 13, 2015, Ms. Ramos wrote up a Memo Regarding Investigation, summarizing

the findings of Jacobs Management. She provided a summary of each of the accounts she was

given by Lombardi, Plaintiff, and Manny Saldivar. The memo recommended that Plaintiff be

discharged for violating Company Policy 2710: “(1) being careless or negligent or doing

unsatisfactory work; (2) failing to obey safety rules; (3) Engaging in assault; and (4) Instigating

conflict among coworkers, unprofessional behavior that disrupts productivity and undermines

teamwork and cooperation.” Furthermore, the memo also found that Plaintiff made misleading

or false statements during the investigation.




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       Ms. Ramos wrote in the memo that: “we cannot comprehend how an individual who is

facing a vehicle, states that he is struck by the passenger side of the vehicle yet is injured on his

left thigh and arm.” Ms. Ramos also recommended that Mr. Lombardi be suspended for three

days and removed from his lead man position, for carelessness.

       In the disciplinary action record issued on July 20, 2015, Defendant explained that they

discharged Plaintiff because he “acted in a careless unprofessional manner” while on the

roadway near the moving vehicle; that two eye witnesses saw Plaintiff hit or punch the vehicle;

and that Plaintiff provided false or misleading statement of how the impact occurred. See Deft’s

Exhibit I.

       Defendant explained that Plaintiff’s disciplinary action was more severe because

Defendant believed that he punched or hit the truck intentionally and provided misleading and

untruthful information on how the incident occurred. Defendant stated that it believed that

Lombardi did not intentionally strike anyone, nor was there a reason to believe he

misrepresented information to Jacobs.

       VII.    Hiring of an Additional Test Technician.

       Prior to Plaintiff’s termination, Jacobs planned to hire additional individuals because of

ongoing projects.    The job was posted pursuant to the terms of the Collective Bargaining

Agreement. An individual aged 42 years old was initially offered the Systems Test Tech role in

propulsion, but the candidate turned down the offer. Gabriel Zavala then applied for the job. He

was the only internal candidate for the role of Systems Test Tech C in propulsion. At the time,

Mr. Zavala worked for GeoControls, a partner organization which was also subject to the

Collective Bargaining Agreement.




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VIII. Plaintiff’s Additional Facts.2

         Plaintiff is the only employee who complained of age or disability discrimination.

Plaintiff was not subject to discipline between 2011- 2015. Plaintiff testified that his skills were

in demand.

         Mr. Lombardi was convicted of trespassing, assault, criminal mischief, and receiving

stolen goods, as a teenager. He was born in 1972, and has no record of disabilities, work

restrictions, or FMLA leave. However, Defendant had no knowledge of Mr. Lombardi’s teenage

crimes. Moreover, Mr. Lombardi was disciplined by a prior employer for ruining a tire on a

work truck. Mr. Smith was aware of that prior disciplinary action.

                                             LEGAL STANDARD

         A motion for summary judgment may be granted only when “there is no genuine issue as

to any material fact and . . . the movant is entitled to judgment as a matter of law. Fed.R.Civ.P.

56(c). Summary judgment is appropriate if the pleadings, depositions, answers to interrogatories,

and admissions on file, together with the affidavits, if any, show that there is no genuine issue as

to any material fact. Munoz v. St. Mary Kirwan Hosp., 221 F.3d 1160, 1164 (10th Cir. 2000).

When applying this standard, the court examines the record and makes all reasonable inferences

in the light most favorable to the non-moving party. Id. The movant bears the initial burden of

establishing that no genuine issue exists as to any material fact. See Adickes v. S.H. Kress & Co.,

398 U.S. 144, 157 (1970). Where the record taken as a whole could not lead a rational trier of

fact to find for the non-moving party, there is no genuine issue for trial. Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (quoting First Nat’l Bank of Arizona v.

Cities Serv. Co., 391 U.S. 253, 289 (1968)).

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  Plaintiff asserted additional facts in his response. Defendant did address them. Therefore, the Court will consider
the asserted facts as undisputed, to the extent they are properly supported and not otherwise disputed elsewhere.
However, the Court finds that most of these facts are irrelevant or misstates the record.

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                                           DISCUSSION

       Because Plaintiff lacks direct evidence, the Court analyzes all four discrimination and

retaliation claims under the ADA and ADEA under the burden-shifting framework described in

McDonnell Douglas. Under this framework, Plaintiff must first establish a prima facie case. If

Plaintiff does so, the burden of production shifts to the Defendant to show that “it had a

legitimate, nondiscriminatory reason for the adverse action.”          If the employer makes this

showing, Plaintiff then bears “the full burden of persuasion to show that the defendant

discriminated on the illegal basis” of age or disability. Bryant v. Farmers Ins. Exch., 432 F.3d

1114, 1124–25 (10th Cir. 2005); Nunez v. Lifetime Prod., Inc., 2018 WL 921537, at *1–2 (10th

Cir. 2018). “The plaintiff may do so by showing that the proffered reason is pretextual.”

Bryant, 432 F.3d at 1124–25.

I.     Disability Discrimination Claim under Americans with Disability Act.

       Defendant seeks summary judgment on Plaintiff’s Count II, Disability Discrimination

under the ADA.

       A.      Prima Facie Case.

       To establish a prima facie case, Plaintiff must show that (1) he was a disabled person as

defined by the ADA; (2) he was qualified, with or without reasonable accommodation, to

perform the essential functions of his job; and (3) he was fired because of his disability.

Kilcrease v. Domenico Transportation Co., 828 F.3d 1214, 1218–19 (10th Cir. 2016). Defendant

argues that Plaintiff failed to establish any of the elements of his prima facie case.

               i.      Disability.

       Having a “disability” means: (A) having a physical or mental impairment that

substantially limits one or more major life activities of such individual; (B) a record of such an



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impairment; (C) being regarded as having such an impairment (as described in paragraph (3). 42

U.S.C. § 12102(1).

         Initially, Plaintiff does not have an actual disability, i.e., a physical impairment that

substantially limits one or more major life activities. Plaintiff testified that he was not disabled.3

Moreover, Plaintiff has not asserted any facts or evidence that indicate he had a substantial

impairment that limited a major life activity.                 Instead, Plaintiff has presented evidence of

multiple temporary, short-term work reductions for various issues, such as back or knee strains.

His last work reduction or restriction for a major life activity was in 2013, two years prior to his

termination. Plaintiff also took two weeks of light duty in February 2014 following eye surgery.

Plaintiff presented no evidence of a chronic or episodic condition, and he admitted the

impairments did not recur. Moreover, Plaintiff presented no evidence that the truck incident left

him with an impairment that substantially limited a major life activity.4 Allen v. SouthCrest

Hosp., 455 Fed. Appx. 827, 833 (10th Cir. 2011) (it is Plaintiff’s “summary judgment

responsibility to present evidence sufficient to meet her burden of production on the ‘disability’

element of her prima facie case”).

         Plaintiff argues that after the ADAAA amendments of 2008, the “transitory and minor”

exception does not apply to actual disabilities. See 29 C.F.R. § 1630.2(j)(1)(ix) (“The effects of

an impairment lasting or expected to last fewer than six months can be substantially limiting

within the meaning of this section.”). The Court agrees that a temporary impairment does not

per se disqualify Plaintiff from being considered disabled.                     However, as explained above,

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  Plaintiff admitted to Defendant’s Fact 11 – which states that he “occasionally required short periods of light duty
for minor strains to his back and knee.” Moreover, Plaintiff testified that he was not disabled, and that he requested
a fair number of short work reductions, all less than six months, and were non-recurring. Deft’s Exhibit A, p. 104.
He has not pointed to any facts or evidence showing that he had sustained work reductions, or that he was disabled
after the truck incident, or any condition that substantially limited a major life activity. Finally, Plaintiff admitted
that he was not disabled in deposition testimony.
4
  His medical records indicated that he had bruising on his left arm and leg, but he was discharged from the hospital.
Plaintiff walked into the investigatory meeting with no apparent injuries.

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Plaintiff presented no evidence indicating how any impairment substantially limited a major life

activity.      See 29 C.F.R. § 1630.2(j)(4)(i-ii) (listing factors for determining whether an

impairment substantially limits a major life activity). For the reasons stated above, records of

these requested work reductions also do not satisfy the disability prong.           See Doebele v.

Sprint/United Mgmt. Co., 342 F.3d 1117, 1129–32 (10th Cir. 2003) (second prong requires a

record of an impairment that substantially limits a major life activity), cited in Chavez v. Adams

Cty. Sch. Dist. No. 50, 2016 WL 1426919, at *5 (D. Colo. 2016).

            Instead, Plaintiff argues that Defendant regarded or perceived him as disabled because he

took medical leave and requested reduced (although temporary) workload reductions, multiple

times. “Under the ADAAA, for a plaintiff alleging disability discrimination to show that the

employer regarded him as having an impairment, the plaintiff must show that (1) he has an actual

or perceived impairment, (2) that impairment is neither transitory nor minor, and (3) the

employer was aware of and therefore perceived the impairment at the time of the alleged

discriminatory action.” Adair v. City of Muskogee, 823 F.3d 1297, 1306 (10th Cir. 2016).

Plaintiff need not show that Defendant regarded him as having an impairment that substantially

limit him from being able to perform a major life activity. Id.

        Here, Plaintiff’s temporary work reductions for knee and back strains, and eye surgery,

were transitory or minor, and therefore do not qualify under the “regarded as disability” prong.

Plaintiff admitted that all work reductions or impairments lasted for less than six months, and

were non-recurring. See 42 U.S.C.A. § 12102(3) (The regarded-as disabled prong “shall not

apply to impairments that are transitory or minor. A transitory impairment is an impairment with

an actual or expected duration of 6 months or less.”).

                  ii.     Qualified Individual.



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         Defendant argues that Plaintiff is not a qualified individual, because he committed

misconduct on the job. This argument is more appropriately considered under the pretext prong

of the McDonnell-Douglas framework. Moreover, the record indicates that Plaintiff can perform

the essential functions of the position, and Defendant does not argue otherwise.

                iii.    Causality.

         Finally, Plaintiff is required to present some affirmative evidence that disability was a

determining factor in the Defendant’s decision. Morgan v. Hilti, Inc., 108 F.3d 1319, 1323–24

(10th Cir. 1997) “The burden is not onerous, but it is also not empty or perfunctory. The

plaintiff must present evidence that, if the trier of fact finds it credible, and the employer remains

silent, [he] would be entitled to judgment as a matter of law.” Id. (internal citations and quotation

marks omitted); Spielman v. Blue Cross & Blue Shield of Kansas, Inc., 33 F. App'x 439, 445

(10th Cir. 2002). Plaintiff must present some evidence that “Defendant terminated him under

circumstances that give rise to an inference that the action as based on his disability.” Selenke v.

Med. Imaging of Colorado, 248 F.3d 1249, 1259 (10th Cir. 2001), citing Morgan, 108 F.3d at

1323.

         Plaintiff has not alleged he was rendered disabled by the truck incident. Plaintiff’s last

leave was for recovery for an eye surgery in February 2014, after which he returned to full work

duty. This was 17 months prior to his termination.

         Here, Plaintiff failed to demonstrate there is a nexus between his employment termination

following the truck incident, and his medical condition. See, e.g., Melin v. Verizon Bus., Inc.,

595 F. App'x 736, 740 (10th Cir. 2014). Initially, the Court notes that Plaintiff has not alleged –

and the record does not show – that Plaintiff was rendered disabled following the truck incident.

His last protected activity, recovery from eye surgery in February 2014– is too distant to



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establish an inference of discriminatory motive. Selenke v. Med. Imaging of Colorado, 248 F.3d

1249, 1260 (10th Cir. 2001); see also Bones v. Honeywell Int'l, Inc., 366 F.3d 869, 878–79 (10th

Cir. 2004) (ten months is too long a time laps, standing alone, to support inference of causal

connection between disability and termination).      Plaintiff argues that he felt uncomfortable

requesting work reductions or leave because of impairments, but did not give any evidence that

Defendant ever expressed displeasure. Plaintiff said “it was just the way I was feeling.” Ex. A, p.

102. Rather, Defendant’s repeated accommodations, over a long period of time, do not support

an inference of discrimination. Bones, 366 F.3d at 879.

       Moreover, Plaintiff points to nothing in the record that indicates he was disabled or

perceived to be disabled by Defendant after the truck incident. Rather, his medical records

indicate that he had bruising and no restrictions, and management saw him walk into the

investigatory meeting without issues.

       B.      Legitimate Reason for Discharge.

       Ms. Ramos, Defendant’s Human Resources Manager; Dennis Smith, Plaintiff’s direct

supervisor, and Brent Adams, all believed that Plaintiff lied about the truck incident and that he

was not hit by the truck, but rather, that he hit the side of the truck. This conclusion was based

on the testimony of two eye-witnesses. Ms. Ramos’ recommendation for discipline, and the

ultimate reasons for Plaintiff’s discharge, were that he was careless; he punched or hit the truck

intentionally; and provided misleading and untruthful information during the investigation. This

perceived misconduct and dishonesty is a legitimate, non-discriminatory reason for discharge.

The Court addresses the pretext prong below.

II.    Age Discrimination in Employment Act.




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         Plaintiff argues that Defendant discriminated against him based on his age, in violation of

the ADEA, by terminating him, and by subjecting him to a hostile work environment.5

         A.       Prima Facie Case.

         “In order to establish a prima facie case of discrimination under the ADEA, a plaintiff

must ordinarily prove that: (1) she is within the protected age group; (2) she was doing

satisfactory work; (3) she was discharged; and (4) her position was filled by a younger person.”

Kosak v. Catholic Health Initiatives of Col., 400 F. App'x 363, 366 (10th Cir. 2010). It is

undisputed that Plaintiff is within the protected class, was discharged, and the position was filed

by a younger person. As explained above, Plaintiff was qualified for the position. Therefore,

Plaintiff has established his prima facie case.

         Plaintiff also argues that he was subjected to a hostile work environment. However,

Plaintiff did not give any examples of allegedly discriminatory actions or words, but merely

stated he was made to feel “uncomfortable.” This is in no way sufficient to satisfy his burden for

a hostile work environment claim. See generally MacKenzie v. City & Cty. of Denver, 414 F.3d

1266, 1280 (10th Cir. 2005) (setting forth hostile work environment standard), and Asbury v.

Geren, 582 F. Supp. 2d 1323, 1338 (D.N.M. 2008) (Black, J.) (district court must examine the

frequency and severity of conduct, along with whether conduct is threatening or humiliating, or




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  It is unclear whether Plaintiff is asserting a “failure-to-promote” claim under the ADEA. If he does assert one, he
failed to carry his burden. See, e.g., MacKenzie v. City & Cty. of Denver, 414 F.3d 1266, 1277–78 (10th Cir. 2005)
(setting out standard for failure to promote claim under the ADEA). Although in his deposition testimony Plaintiff
conclusory alleges that Defendant failed to promote him, Plaintiff did not set forth anything in the record or brief to
support his burden of proof. For example, there is no evidence whether, and when, Plaintiff applied for promotions.
Moreover, it appears that asserts that the failure to promote occurred in 2010. Moreover, as Defendant argues, it
appears this failure to promote claim is time-barred, and Plaintiff does not argue otherwise. see generally Almond v.
Unified Sch. Dist. No. 501, 665 F.3d 1174, 1177 (10th Cir. 2011); see also Daniels v. United Parcel Serv., Inc., 701
F.3d 620, 628 (10th Cir. 2012) (“When a complaint alleges multiple discrete acts, the limitations period runs
separately for each act.”).


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merely offensive, and whether the conduct unreasonably inferences with plaintiff’s work

performance).

        B.      Legitimate Reason.

        As explained above, Defendant carried its burden of producing a legitimate, non-

discriminatory reason for terminating Plaintiff.

III.    Retaliation under the ADA and ADEA.

        The Mcdonell-Douglas framework described above also applies to retaliation claims

under the ADA and ADEA.

        A.      Prima Facie case.

        “[T]o establish a prima facie case of retaliation under the ADA [and ADEA], [the

employee] must demonstrate (1) that he engaged in protected opposition to discrimination, (2)

that a reasonable employee would have found the challenged action materially adverse, and (3)

that a causal connection existed between the protected activity and the materially adverse

action.” Winston v. Ross, 2018 WL 1061377, at *3 (10th Cir. 2018) (internal quotation marks

omitted). See also McElroy v. Am. Family Ins., 630 F. App'x 847, 850 (10th Cir. 2015).

        “The ADEA's anti-retaliation provision forbids an employer from discriminating against

an employee because she ‘has opposed any practice made unlawful’ by the statute, or because

she ‘has made a charge, testified, assisted, or participated in any manner in an investigation,

proceeding, or litigation’ under the statute.” Hill v. Steven Motors, Inc., 97 F. App'x 267, 277–78

(10th Cir. 2004), quoting 29 U.S.C. § 623(d). The anti-retaliation provisions of the ADA are

materially identical to the ADEA's provisions.” Id. Protected activity includes opposing or

complaining about age discrimination by the employer. MacKenzie v. City & Cty. of Denver,

414 F.3d 1266, 1278–79 (10th Cir. 2005).



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       A plaintiff can satisfy the third element by adducing “evidence of circumstances that

justify an inference of retaliatory motive, such as protected conduct closely followed by adverse

action.” See Winston v. Ross, 2018 WL 1061377, at *3 (10th Cir. 2018). “To establish the

requisite causal connection between his protected conduct and termination, Mr. Hinds must show

that Sprint was motivated to terminate his employment by a desire to retaliate for his protected

activity.” Hinds v. Sprint/United Mgmt. Co., 523 F.3d 1187, 1203 (10th Cir. 2008); See also

MacKenzie v. City & Cty. of Denver, 414 F.3d 1266, 1278–79 (10th Cir. 2005).

       Plaintiff filed a complaint through his union, which went nowhere. Plaintiff stated he

never filed a complaint with Jacobs. However, he stated that he complained to his supervisor,

Mr. Smith, about age discrimination, because he was not receiving training or promotions. He

also went to HR to state that he was not receiving the tools he needed to complete his job.

Plaintiff states that Mr. Smith has written copies of his complaints, but these were not produced

in the record. There is no evidence that Defendant was aware of these complaints. Plaintiff also

asserts that he told “management” a few times about age discrimination, but he could not specify

who he told those complaints to, when, or the substance of those complaints. Therefore, the

Court cannot conclude that Plaintiff engaged in a protected activity opposing age discrimination

under the ADEA. It is unclear whether Plaintiff engaged in a protected activity under the

ADEA, as Plaintiff has not identified what was said or when it was said. See McElroy v. Am.

Family Ins., 630 F. App'x 847, 851 (10th Cir. 2015) (“McElroy's brief doesn't tell us what he said

to Ledgerwood or when he said it. Without such information, we can't determine whether the

complaint was protected, much less its proximity to any adverse employment action.”); see also

Hinds v. Sprint/United Mgmt. Co., 523 F.3d 1187, 1203 (10th Cir. 2008) (“Although no magic

words are required, to qualify as protected opposition the employee must convey to the employer



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his or her concern that the employer has engaged in a practice made unlawful by the ADEA.”).

Moreover, Plaintiff has not established a causal connection between his complaints of age

discrimination and his termination. There is no evidence of the temporal proximity between the

two. Moreover, Plaintiff has not asserted any other circumstances that may create an inference

of discrimination.

          However, Plaintiff’s requests for reduced work load or leave following back or knee

strain, or eye surgery, could be interpreted as a protected activity under the ADA. But Plaintiff

again failed to establish a causal connection. The last such request was seventeen months prior

to his termination. These requests for accommodation are too far removed temporarily to raise

an inference, by themselves, of a discriminatory action. Moreover, the fact that he received

accommodations– without any evidence of push back – weighs against a finding of retaliatory

intent.

          Plaintiff asserts that the protected activity was taking FMLA leave time, and he was fired

because he used his FMLA time. He apparently took FMLA leave once in 2008 for his own

medical condition. The exercise of his rights under the FMLA in 2015 to take leave for the birth

of his daughter does not constitute a protected activity under the ADA or ADEA. Plaintiff’s use

of FMLA time does not raise a claim for retaliation for retaliation under the ADA or ADEA.

McElroy v. Am. Family Ins., 630 F. App'x 847, 851 (10th Cir. 2015) (opposition to employer’s

conduct only protected if it opposes a practice made unlawful by ADEA or ADA).




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IV.    Pretext Analysis for All Claims.

       Even if Plaintiff carried his prima facie burden, the Court concludes that Plaintiff failed

to carry his burden of showing that Defendant’s legitimate reason for discharge was a pretext, for

all four claims of discrimination and retaliation.

       Plaintiff bears the burden of showing that there is a genuine issue of material fact as to

whether the proffered reasons are pretextual. “A pretext argument requires the court to examine

the facts as they appear to the person making the decision, to determine whether the employer

honestly believed those reasons and acted in good faith upon those beliefs.” Berry v. T-Mobile

USA, Inc., 490 F.3d 1211, 1220 (10th Cir. 2007) (internal quotation marks and citations omitted).

“The plaintiff may establish pretext by showing such weaknesses, implausibilities,

inconsistencies, incoherencies, or contradictions in the employer’s proffered legitimate reasons

for its action that a reasonable factfinder could rationally find them unworthy of credence and

hence infer that the employer did not act for the asserted non-discriminatory reasons.” Bennett v.

Windstream Commc’ns, Inc., 792 F.3d 1261, 1267 (10th Cir. 2015) (internal quotation marks

omitted). Thus, the Court does not determine whether the Defendant’s decisions were correct,

rather only “whether the employer honestly believed its reasons and acted in good faith upon

them.” Berry v. T-Mobile USA, Inc., 490 F.3d 1211, 1220 (10th Cir. 2007). Evidence of pretext

often includes: (1) evidence that defendant’s stated reason was false; (2) evidence that Defendant

was acting contrary to company policy; and (3) evidence that Plaintiff was treated differently

from similarly situated employees. Dewitt v. Sw. Bell Tel. Co., 845 F.3d 1299, 1307–08 (10th

Cir. 2017).




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         Plaintiff argues that Defendant’s reason for discharge was a pretext, because (1) Plaintiff

suffered disparate treatment (i.e. discipline) compared to Mr. Lombardi, and (2) the claim he was

untruthful during the investigation is not reasonable.

         Defendant’s investigation was reasonable and thorough, and included talking to at least

seven witnesses. Two witnesses, Mr. Lombardi and Manny Valdivia, told Defendant they saw

the truck incident. Thus, Lombardi’s story was independently corroborated, while Plaintiff’s

story was not.

         Moreover, Defendant also reasonably found Plaintiff’s story of the incident implausible.

He told them he was facing the truck, on the passenger side, as the truck was coming toward

him. Yet – he said he was hit on his left side. It is undisputed that Plaintiff never told them that

he turned his back toward the truck. See Deft’s Ex. A, p. 147:14-25.                             Thus, Ms. Ramos

reasonably believed that Plaintiff’s story was misleading.

         Thus, based on this information, Defendant determined that Mr. Lombardi was merely

careless, while Plaintiff intentionally hit the truck and gave misleading statements during the

investigation.      Based on the information available to Defendant, disparate treatment was

warranted between Lombardi and Plaintiff, because they were not similarly situated.6 Dewitt v.

Sw. Bell Tel. Co., 845 F.3d 1299, 1311 (10th Cir. 2017) (“showing disparate treatment—by

demonstrating that the employer treated employees similarly situated to the plaintiff employee

differently (i.e., more favorably)—is a particularly potent instrument to discredit an employer’s

allegedly legitimate reasons.”).

         Plaintiff also argues that there is a genuine issue of material fact whether (1) he hit the

truck, or the truck hit him; and (2) whether he was misleading or untruthful during the


6
 It is unclear whether Defendant had access to the police report prior to the issuance of the disciplinary action report
on July 20, 2015. The officers observed no visible bruising on Plaintiff.

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investigation.     Plaintiff argues that this precludes summary judgment.                    However, whether

Plaintiff in fact hit the truck or lied during the investigation is not at issue. Kendrick v. Penske

Transp. Servs., Inc., 220 F.3d 1220, 1231 (10th Cir. 2000), citing McKnight v. Kimberly Clark

Corp., 149 F.3d 1125, 1129 (10th Cir.1998) (finding that plaintiff failed to establish pretext

where the defendant discharged plaintiff after conducting an investigation into a subordinate

employee's allegations of sexual misconduct on the part of the plaintiff and believed the

allegations to be true, even though plaintiff presented evidence to the district court that the

allegations may have been false). Rather, at issue is the sincerity of the employer’s proffered

belief for the termination. See Berry v. T-Mobile USA, Inc., 490 F.3d 1211, 1220 (10th Cir.

2007) (“[A]t issue is whether the evidence of Plaintiff's misconduct presented to [the

decisionmakers] was so weak that a rational factfinder could infer that [the] expressed reason for

terminating Plaintiff must have been pretextual.”) (internal quotation marks omitted).

        Plaintiff also argues that he was never able to give his side of the story to Defendant.

However, the undisputed facts and record show that Ms. Ramos met with Plaintiff, interviewed

him, and asked him questions about the truck incident. She created a report of that interview.

Deft’s Exhibit D.

        There is nothing to indicate weakness, implausibility, or inconsistencies in Defendant’s

reasons for firing Plaintiff.7 Therefore, the Court concludes that the record contains no evidence

from which a reasonable fact finder could conclude that Defendant’s stated reasons for

terminating Plaintiff were pretextual.



7
  Additionally, any argument that the reasons for his termination were a pretext as to the age claims is undermined
by the fact that the decision makers were all over forty years old, and in the protected class. Antonio v. Sygma
Network, Inc., 458 F.3d 1177, 1183 (10th Cir. 2006), cited in Points v. Honeywell Int'l, Inc., 2015 WL 13667298, at
*9 (D.N.M. 2015). Moreover, Defendant first offered the position to someone in the protected class, who turned the
position down. The only remaining internal applicant was in his thirties. This undermines Plaintiff’s claim that his
termination was motivated by age.

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V.     Failure to Accommodate Disability.

       For Count III, Plaintiff alleged that Defendant failed to accommodate his disability. In

his response to summary judgment, it appears that Plaintiff voluntarily dismisses this theory,

because there is evidence that Defendant accommodated Plaintiff. See Doc. 45, p. 20. The

Court therefore dismisses Count III.

                                        CONCLUSION

       The Court concludes that Plaintiff failed to establish his prima facie case on the ADA and

ADEA retaliation claims, and the ADA discrimination claim. Alternatively, Plaintiff failed to

establish that Defendant’s legitimate, non-discriminatory reason for termination was a pretext, as

to all claims. Therefore, the Court issues judgment in favor of Defendant on all counts in the

Amended Complaint.

       IT IS THEREFORE ORDERED that Defendant’s Motion for Summary Judgment

(Doc. 44) is hereby GRANTED for reasons described in this Memorandum Opinion and Order.

Judgment is issued in Defendant’s favor on all counts.



                                             ______________________________________
                                             CHIEF UNITED STATES DISTRICT JUDGE




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